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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK

CARL HIGBIE, JOSEPH HARRIS, and              )
MICHAEL VOTRUBA,                             )
                                             ) NOTICE OF MOTION FOR SUMMARY
Plaintiffs,                                  ) SUMMARY JUDGMENT
                                             )
v.                                           ) Civil Action No. 1:24-cv-00174-MAD-TWD
                                             )
STEVEN G. JAMES, in his Official             )
Capacity as Superintendent of the            )
New York State Police, SHERIFF KYLE )
BOURGAULT, in his Official Capacity as )
the Sheriff of Rensselaer County, New York,)
SHERIFF DONALD J. KRAPF, in his              )
Official Capacity as the Sheriff of Columbia )
County, New York, and JOHN DOES 1-10, )
                                             )
Defendants.                                  )
____________________________________)

       PLEASE TAKE NOTICE, that upon the accompanying Memorandum of Authorities in

Support of Plaintiffs’ Motion for Summary Judgment; the Declaration of Stephen D. Stamboulieh

with its annexed exhibits; and the Plaintiffs’ Statement of Undisputed Material Facts in Support

of Plaintiffs’ Motion for Summary Judgment, Plaintiffs Carl Higbie, Joseph Harris, and Michael

Votruba, by and through their attorneys of record, will move this Court at the United States

Courthouse for the Northern District of New York, James T. Foley U.S. Courthouse, 445

Broadway, Albany, New York, 12207, for an Order granting Plaintiffs’ Motion for Summary

Judgment pursuant to Rule 56 of the Federal Rules of Civil Procedure as there is no genuine issue

of material fact and that the Plaintiffs are entitled to judgment as a matter of law.

       PLEASE TAKE FURTHER NOTICE that Plaintiffs respectfully request oral argument

on their Motion for Summary Judgment. First, the issues presented in this case involve complex

and significant questions of federal law, involving multiple constitutional provisions, as to the



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constitutionality of a New York statute affecting millions of Americans, and Plaintiffs believe that

oral argument would aid the court’s decisionmaking process. Second, while the Local Rules of

Practice do not allow Defendants a reply on their cross motion for summary judgment without

leave of Court (see L.R. 7.1(c)), Plaintiffs suspect that such leave will be requested. Thus, to the

extent any reply brief is filed, oral argument would allow Plaintiffs the opportunity to address any

additional issues or arguments.

       A Pre-Motion Conference was held on January 6, 2025 and the Court granted Plaintiffs’

request to file their Motion for Summary Judgment. See January 7, 2025 Minute Entry.

 Dated: January 24, 2025.

                                                     Respectfully submitted,

/s/ Stephen D. Stamboulieh                           Robert J. Olson
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                                     Certificate of Service

       I, Stephen D. Stamboulieh, hereby certify that I have caused to be filed a true and correct
copy of the foregoing document or pleading via the Court’s CM/ECF system which sent a notice
and copy of the foregoing to all counsel of record.



Dated: January 24, 2025

                                                    /s/ Stephen D. Stamboulieh
                                                    Counsel for Plaintiffs




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